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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 17-cv-80744 Civ-DMM/DLB

   NICHOLAS C. KRIKORIAN,

           Plaintiffs,

   vs.

   BROKEN SOUND CLUB, INC.,
   a Florida corporation,

           Defendant.


                    DEFENDANT BROKEN SOUND CLUB, INC.’S REPLY IN
                         RESPONSE TO PLAINTIFF’S OPPOSITION TO
                     DEFENDANT’S MOTION FOR RULE 11 SANCTIONS

         Defendant, Broken Sound Club, Inc. (“BSC” and/or “Defendant”) by and through

  undersigned counsel, hereby files its Reply to Plaintiff’s Response to Defendant’s Motion for

  Sanctions, and in support thereof, states:

         1.       Notwithstanding Plaintiff’s contentions, BSC maintains that its Rule 11 Motion

  was properly filed as Plaintiff still cannot overcome the issue that the claims lack a factual basis

  in light of Plaintiff’s own self-serving “assumptions” and Defendant’s payroll records

  contradicting same. Crabtree v. Central Florida Investment, Inc., 2013 WL 1155796 *4 (M.D.

  Fla. March 14, 2013)(citing United Food & Commercial Workers v. Armour and Co., 106 F.R.D.

  345, 347-48 (N.D.Cal 1985) and Woodford v. Gavin, 105 F.R.D. 100, 105 (N.D. Miss

  1985))(Courts have imposed Rule 11 sanctions in cases where the pleader based its claims on

  suspicions or assumptions). As will be discussed in further detail below, all Plaintiff comes back

  with in response to BSC’s Rule 11 Motion is more unsupported speculation regarding Plaintiff’s
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     underlying claims.        As such, at a minimum - this case should be dismissed - and sanctions for

     having to bring this Motion and to defend a frivolous action, should be imposed.

             2.       To begin, Plaintiff’s initial point that BSC has not “moved to dismiss the

     complaint,” is a red-herring and does not constitute a waiver preventing BSC from filing a Rule

     11 Motion. Being able to meet the pleading requirements to overcome a Motion to Dismiss for

     failing to state a cause of action is a far different standard upon which any Rule 11 Motion,

     including this one – is based.

             3.       Likewise, Plaintiff’s argument that BSC is attempting to short circuit the discovery

     or summary judgment process for improper purposes is also unconvincing. To maintain this

     claim, Plaintiff misrepresents that no discovery has been conducted and that undersigned counsel

     is, essentially, and without any basis, using the Rule 11 Motion to bully the Plaintiff into

     withdrawing his claim.          [D.E. 25] at P. 3.         To the contrary, written discovery has been

     propounded (none of which was used or mentioned in the Response to further Plaintiff’s factual

     basis for the claim), and an FLSA statement of claim (and a response thereto) were exchanged -

     with Plaintiff’s statement of claim visibly absent of any supporting documentation, including

     affidavits, etc. [D.E. 18] and [D.E. 19].1 To this end, once it was clear that Plaintiff was unable to

     provide any substantiated or credible evidence otherwise and was unable to refute the

     unambiguous information contained in the disclosed payroll/time records (the payroll records also

     serve as time records as they show the precise times Plaintiff clocked in and out for each day in

     the relevant pay period), this Rule 11 Motion was initiated.

             4.       Of note, Plaintiff’s response introduces new information not previously alleged or



 1
     Plaintiff’s deposition is currently scheduled for October 26, 2017 pending the outcome of the subject Rule 11 Motion.
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     otherwise disclosed2 through either an initial disclosure (which Plaintiff has yet to provide despite

     a mutual agreement to exchange by July 31, 2017) or Plaintiff’s interrogatory responses - which

     nevertheless does not alter BSC’s position. Plaintiff – for the very first time – challenges the

     accuracy of the time records and goes so far as to suggest that BSC altered them. [D.E. 25] at P.

     8. Again this allegation is based solely on Plaintiff’s “word” notwithstanding Plaintiff counsel’s

     interview of a new, previously undisclosed fact witness, Ray Gonzalez. [D.E. 25] at P. 6.

             5.     When scrutinizing Plaintiff counsel’s affidavit further, it is clear that Mr. Gonzalez

     only has personal information regarding his own work schedule and time worked – not Plaintiff’s.

     The interview of Mr. Gonzalez does nothing to add to Plaintiff’s allegations that he (Nicholas

     Krikorian) actually had time automatically deducted (notwithstanding his statements regarding an

     overall BSC alleged policy of automatic deductions), that he worked off the clock, or was fired in

     retaliation. Rather, Mr. Gonzalez can only purportedly provide information about himself, Ray

     Gonzalez. The affidavit reveals nothing about Mr. Gonzalez’s personal knowledge or

     observations about Plaintiff’s own work schedule, witnessing Plaintiff working off the clock, or

     anything having to do with Plaintiff’s retaliation claim. [D.E. 25-1]. In other words, Plaintiff’s

     own self-serving “assumptions” and “suspicions” remain the sole basis for his claims, 3 including

     his claims that he was not paid for either automatic deductions, time worked off the clock, and for

     retaliation.

           6.       As to Plaintiff’s contention that BSC filed this Rule 11 Motion for improper

 purposes, this argument – again - fails. The fact remains BSC did its due diligence through

 discovery and provided Plaintiff with official payroll and time records none of which Plaintiff can


 2
   Despite the safe harbor period leading up to the filing of the subject Rule 11 Motion, Plaintiff’s counsel did not
 disclose any of this information within that time.
 3
   Although Plaintiff’s discovery responses identify other individuals with “knowledge” about Plaintiff’s claims, they
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 specifically challenge - and even after Plaintiff’s response, there still lacks a factual basis to his

 claims. And since plaintiff provides no evidence to the contrary other than self-serving statements

 nor is there any other evidence - BSC served and, 21 days later, filed its Rule 11 motion.

          7.         As an additional point, there are various troubling sections in Plaintiff’s response

 which discuss the need to conduct additional discovery to uncover or verify certain allegations –

 again all based on Plaintiff’s assumptions or suspicions. For example, Plaintiff’s response states

 that “full development of the facts will depend upon discovery that has yet to occur.” [D.E. 25] at

 P. 11. Plaintiff further indicates: “[p]erhaps the entire claim will be pursued or perhaps only the

 claim for hours worked “off the clock” at the end of the shift will be pursued. Until counsel has an

 opportunity to conduct discovery, however, Broken Sound’s rule 11 motion is woefully

 premature…” [D.E.25] at p. 8. Plaintiff’s “wait and see” approach strikes at the heart of the type

 of behavior a Rule 11 Motion strives to avoid. “Sanctions have also been imposed when the

 pleader filed a lawsuit and then sought to develop a cause of action.” Crabtree, 2013 WL 1155796

 a t *4 (citing Weil v. Markowitz, 108 F.R.D. 113, 116 (D.D.C. 1985); Foster v. Michelin Tire

 Corp., 108 F.R.D. 412, 414-15 (C.D.Ill.1985); and City of Yonkers v. Otis Elevator, 106 F.R.D.

 524, 525 (S.D.N.Y. 1985)). With severe allegations already put forth in the initial Complaint, now

 coupled with an allegation that BSC doctored time records, it’s troublesome that Plaintiff is

 admitting that more time is needed to conduct additional discovery in order to verify these serious

 accusations.

           8.        Finally, Plaintiff’s reverse request that Rule 11 sanctions be likewise imposed on

  BSC as the result of the subject Rule 11 Motion is also unfounded. To this end, Plaintiff relies on

  Claudet v. First Fed. Credit Control, Inc. 2015 U.S. Dist. LEXIS 165076, *8 (M.D. Fla.


 were not included in Plaintiff counsel’s interview efforts for purposes of lending support to his affidavit.
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  November 17, 2015) in support. [D.E. 25] at P. 10. This case is distinguishable and therefore

  inapplicable to the present action. As a preliminary matter, the Court found issue with what it

  essentially characterized as a substance-less Rule 11 Motion, beginning with the fact that

  Defendant did not cite to the applicable Rule 11 standard – which is not the case here – and

  consequently, failed to apply it in its argument. The Court also pointed out that the Motion did

  not provide a memorandum of legal authority in support of the motion, again contrary to the

  situation here. Additionally, Defendant’s Motion provided no basis for its request for relief other

  than demands from defense counsel without any supporting evidence that the claims at issue be

  dropped. In the present case, BSC provided Plaintiff counsel with hard payroll/time records –

  which in turn, Plaintiff counsel for the very first time is claiming were somehow tampered with or

  inaccurate. Finally – BSC, as stated in the foregoing, is not bringing this motion for an improper

  purpose as was determined to be the case with the Claudet Rule 11 Motion. The fact remains that

  this case is frivolous given the payroll/time records refuting Plaintiff’s claims and no other

  corroborating evidence other than Plaintiff’s own “word” and a recently filed affidavit of

  Plaintiff’s counsel citing, again for the first time, the identity of Ray Gonzalez as a fact witness

  with only personal knowledge about his own alleged time records and working hours at BSC.

         9.      Based on the foregoing, and coupled with the arguments already raised in the

  Rule 11 Motion, BSC maintains sanctions are appropriate, along with the imposition of such

  other sanctions as the Court deems appropriate. BSC provided Plaintiff all the information

  necessary to expose Plaintiff’s claims as frivolous, yet they still refuse to dismiss the case citing

  the need to conduct further discovery. BSC further objects to Plaintiff’s request for sanctions

  due to BSC’s pursuit of its Rule 11 Motion.
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                 WHEREFORE, Defendant Broken Sound Club respectfully requests that this

  matter be dismissed with prejudice, and that fees and costs incurred in the defense of this

  frivolous action be assessed, and/or any additional relief this Court deems just and proper.



                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on October 12, 2017, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to the

 following: Robert S. Norell, Esq., rob@floridawagelaw.com, Robert S. Norell, P.A., Attorneys for

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